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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.                                     CIVIL ACTION NO. 12-859

 VERSUS                                                    SECTION I, DIVISION 5

 MARLIN GUSMAN, ET AL.                                     JUDGE LANCE M. AFRICK
                                                           MAGISTRATE JUDGE NORTH


                                       JOINT WITNESS LIST

        NOW INTO COURT, through undersigned counsel, come the City of New Orleans (the “City”),

Independent Jail Compliance Director Darnley R. Hodge, Sr. (the “Compliance Director”), Marlin N.

Gusman, Sheriff of the Parish of Orleans (the “Sheriff”), the Plaintiff Class and the United States

Department of Justice (the “United States and Plaintiffs”) who, after conferring on the matter, respectfully

submit the following Joint Witness List, identifying witnesses whom they may or will call at the upcoming

Evidentiary Hearing on the City’s Motion for Relief from Court Orders of January 25, 2019 (Rec. Doc.

1221) and March 18, 2019 (Rec. Doc. 1227) Regarding the Phase III Jail Facility at Rec. Doc. 1281.

                                       CITY’S WITNESS LIST

        The City will call the following individuals as witnesses at the evidentiary hearing on the

City’s Motion for Relief at Rec. Doc. 1281:

    1. William P. Kissel, Fact Witness
       Wellpath, LLC
       Will testify regarding the services provided by Wellpath, LLC to OPSO inmates.

    2. Dr. Carin Kottraba Expert Witness
       Wellpath, LLC
       Will testify regarding the services provided by Wellpath LLC to OPSO inmates at OPSO
       facilities, and care standards.

    3. Dr. Ronald Shansky, Expert Witness
       Will testify regarding the OPSO Consent Decree, care standards and testimony offered as
       part of the record.




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      4.   Dr. Jeffrey Rouse, Fact Witness
           Tulane School of Medicine, Department of Psychiatry
           Will testify regarding the services provided by Tulane School of Medicine, Department of
           Psychiatry to OPSO Inmates and care standards.

      5. James Austin, Expert Witness*
         JFA Institute
         Will testify about OJC population, City’s alternatives to proposed Phase III and City’s
         Report, OJC staffing and trends in correctional practices.

      6. William Snowden or a Representative of the Vera Institute of Justice, Fact Witness
         Will testify regarding community concerns and will offer a historical perspective of jail
         population trends and national perspectives on best practices with respect to Orleans
         Parish.

      7. Jonathan Wisbey, Fact Witness
         City of New Orleans
         Will testify regarding City of New Orleans funding and investment in the Orleans Justice
         Center to date, the reduced and steadily declining inmate population, and all other matters
         described in Jonathan Wisbey Declarations submitted as part of the record.

      8. Susan Guidry, Fact Witness
         Former New Orleans City Councilmember
         Will testify regarding City of New Orleans’ position in response to a Phase III proposal.

      9. Ramsey Green, Fact Witness
         City of New Orleans
         Will testify regarding City of New Orleans infrastructure, operations, capital projects,
         FEMA and proposed alternatives.

      10. Gilbert Montaño, Fact Witness
          City of New Orleans
          Will testify regarding City of New Orleans budget, operations, concerns, and negative
          impacts of COVID19.

      11. LaNitrah Hasan, Fact Witness
          City of New Orleans
          Will testify regarding City of New Orleans operations, and FEMA projects.
      12. Tenisha Stevens, Fact Witness*
          City of New Orleans
          Will testify regarding her work as Criminal Justice Commissioner for the City of New
          Orleans and the City’s concerted efforts to reduce jail population.



*
    Objection noted.


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      13. Allen Patrick, Expert Witness
          Will testify regarding criminal justice facilities and Phase III alternatives.

      14. Any witness listed by any other party.

      15. Any witness identified in pleadings and/or exhibits filed into the record by the parties,
          which the City is still reviewing.

      16. Any witness needed for rebuttal of testimony introduced by another party.

      17. Any witness needed for impeachment.

                             COMPLIANCE DIRECTOR’S WITNESS LIST

           The Compliance Director, through undersigned counsel, respectfully submits the following

Witness List.

           The Compliance Director will call the following individuals and/or entities at the hearing.

If called, these witnesses are expected to testify as follows:

      1. Michael G. Gaffney, Esq.*

           Mr. Gaffney will testify on all topics covered by his affidavit and his report attached to his

           affidavit, including, but not limited to, the FEMA funds designated after Hurricane Katrina

           to rebuild facilities associated with the OPSO jail operations, the use of FEMA funds by

           the City of New Orleans (the "City"), the combination of various FEMA projects by the

           City, the FEMA funds expended by the City, including, but not limited to, funds associated

           with The Templeman II facility, the FEMA funds remaining in the combined projects, the

           use of FEMA funds to implement Phase III, the design of OJC according to FEMA

           regulations, and the use of temporary FEMA facilities, such as The Temporary Detention

           Center ("TDC").




*
    Objection noted.


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      2. Director Hodge or senior official with the Orleans Parish Sheriff’s Office (“OPSO”)*

           Director Hodge or a senior official with the OPSO will testify on the operation of the jail,

           the factors affecting the inmate population of the jail, the effect of COVID-19 on jail

           operations, the difficulties and handling of inmates with medical or mental health needs,

           the agreement to build Phase Ill, and all topics covered by Mr. Hodge's affidavit.

      3. Sean Bruno, CPA

           Mr. Bruno will testify as to financial issues associated with jail operations, the costs for

           OJC and Phase III, and all topics covered by his affidavit.

      4. Rebecca Dietz, Esq.*

           Ms. Dietz will testify regarding the negotiations and agreement to build the Phase III

           facility.

      5. Gary Maynard*

           Mr. Maynard will testify regarding his actions as Compliance Director as it relates to Phase

           III, including, but not limited to the development of the Supplemental Compliance Action

           Plan and the agreement to build Phase III. Mr. Maynard has been added to the Witness List

           in response to the new arguments made by the City of New Orleans in their reply

           memorandum regarding the Prison Litigation Reform Act (the “PLRA”).

      6. Any witness as necessary for authentication of documents.

      The Compliance Director reserves the right to call any witness from this Joint Witness List.

                                      SHERIFF’S WITNESS LIST
           Name:                         Brief Description of Testimony:


           a) Jeffery Rouse, M.D.:       The number of inmates requiring acute mental health
                                         treatment in OPSO custody, needs required to comply with
                                         Consent Judgment.
*
    Objection noted.


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           b) Alexander Calenda*:        The skyrocketing rate of violent crime and gang presence
                                         in the city of New Orleans, the nature of offenses, and said
                                         crime’s anticipated impact on population of OJC.

           c) Michael Laughlin*:         Chief of Investigations at OPSO. Will testify on the
                                         operation of the jail, the factors affecting the inmate
                                         population of the jail, the effect of COVID-19 on jail
                                         operations, the difficulties and handling of inmates with
                                         medical or mental health needs, and the agreement to build
                                         Phase III.

           d) Any and all rebuttal witnesses based on testimony that may be proffered by witnesses
              for the City, the Compliance Director, the Plaintiffs, and the DOJ.

           e) Any witness if necessary for authentication of documents.

           f) Any witness listed or called from this Joint Witness List.

                        UNITED STATES’ AND PLAINTIFFS’ WITNESS LIST
           Name:                         Brief Description of Testimony:


           a) Margo L. Frasier, J.D.: Compliance with medical and mental health care provisions
                                      at OJC, Hunt, and TDC, and current impediments to care
                                      and security of inmates.

           b) Dr. Robert Greifinger: Compliance with medical and mental health care provisions
                                     at OJC, Hunt, and TDC, and current impediments to care
                                     and security of inmates.

           c) Catherine M. Knox*:        Compliance with medical and mental health care provisions
                                         at OJC, Hunt, and TDC, and current impediments to care
                                         and security of inmates.

           d) Dr. Raymond Patterson: Compliance with medical and mental health care
                                     provisions at OJC, Hunt, and TDC, and current
                                     impediments to care and security of inmates.

           e) Chief Byron LeCounte*: Impediments to mental health care.

           f) Dr. Patricia Hardyman: Classification issues related to housing of prisoners at OJC
                                     and TDC.


*
    Objection noted.


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       g) Any and all witnesses necessary for authentication of documents should the parties
          fail to stipulate to authenticity of documents.
               a. Plaintiffs contemplate Lt. Latoya Armwood to authenticate OPSO
                   documents.
               b. Plaintiffs contemplate Myra “Kathleen” Thatch to authenticate Wellpath
                   documents.

       h) Any and all rebuttal witnesses based on testimony that may be proffered by witnesses
          for the City, OPSO, and/or the Compliance Director.

       i) Any witnesses listed or called by any other party.

       j) Any witnesses needed for impeachment.

                         OBJECTIONS TO CERTAIN WITNESSES

                                     CITY’S OBJECTIONS

       The City respectfully submits its objections to certain witnesses listed by the Compliance

Director, by the Sheriff, and by the United States and Plaintiffs as follows:

       A. Compliance Director’s Witnesses

           1) Michael G. Gaffney, Esq.

               Michael Gaffney is listed to testify about his affidavit which is replete with

               speculations and replicates the legal arguments in the brief filed by the Compliance

               Director. His opinions are not admissible as to the design of OJC nor are other

               personal opinions. His work has been for OPSO and others as an attorney. He has

               not been qualified as an expert witness within the past four years, and his CV does

               not list any publications or speeches he has given in the area of his indicated

               testimony.

               (In response to the City’s objection, the Compliance Director states that an expert

               obviously can testify even though he has not been qualified as an expert witness

               within the past four years and his CV does not list any publications or speeches.)



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     2) Director Hodge or senior official with the OPSO

        The Compliance Director does not indicate whether it is he who expects to testify

        or some other unidentified person working for OPSO: that alone is objectionable.

        Mr. Hodge is listed as a person who will testify about his views as to factors

        affecting inmate population, but he is not qualified to offer such opinion testimony.

        Further, counsel for Mr. Hodge only states that he will testify about the topics in

        his affidavit. This catch-all statement prevents the City from objecting to the

        specific issues that his testimony expects to cover. In addition, the City objects to

        his testifying about the perceived difficulties of handling inmates with mental or

        medical needs on the basis that such testimony is not relevant to the City’s pending

        motion.

        (In response to the City’s objection, the Compliance Director argues that he is able

        to testify to his personal knowledge as Compliance Director within the confines of

        the Federal Rules of Evidence for the topics listed for him.)

     3) Rebecca Dietz, Esq.

        Rebecca Dietz is a former City Attorney for the City of New Orleans and is

        expected to testify regarding communications and deliberations made in her official

        capacity as chief legal counsel for the City. The City objects to Rebecca Dietz

        being called a witness, re-urges its objection that allowing her to testify would run

        afoul of privileges afforded the City by the attorney-client privilege and the work-

        product doctrine. The City is not waiving its attorney-client privilege as it pertains

        to Ms. Dietz. The Fifth Circuit has admonished that the testimony of an attorney

        against her former client, “even as to matters of public record…should only be used




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        in rare instances.” U.S. v. Cochran, 546 F.2d 27, 29 n.5 (5th Cir. 1977). This case

        does not present one of these rare instances. Any information that could potentially

        support the Compliance Director’s position is already in the public record, and any

        documents or recordings should speak for themselves.                 While Ms. Dietz’s

        testimony will add nothing to publicly available information, there is great potential

        that Ms. Dietz’s testimony may expose discussions, strategy, and the thought

        process of the City and of the City Attorney over the course of this ongoing

        litigation matter. As such, the Court should prohibit the testimony of Ms. Dietz.

        (In response to the City’s objection, the Compliance Director argues that he

        objections regarding Ms. Dietz have already been raised and overruled by the

        Court. Rec. Doc. 1320, at n.1.)

     4) Gary Maynard

        Gary Maynard is a former Compliance Director for OJC. He is listed as an

        individual expected to testify about the PLRA. The City objects to him trying to

        offer testimony about federal law and objects that his summary of testimony refers

        to the fact that the PLRA issues are not new arguments; in fact, PLRA issues have

        historically been raised by the parties in this litigation matter.

        (In response to the City’s objection, the Compliance Director contends that Mr.

        Maynard is able to testify to his personal knowledge as Compliance Director within

        the confines of the Federal Rules of Evidence for the topics listed for him.)

  B. Sheriff’s Witnesses

     1) Alexander Calenda




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         Alexander Calenda is an employee of the Orleans Parish District Attorney’s Office.

         The City objects to his expected testimony about gang presence and his belief there

         will be an increase in violent crime. These topics are not relevant to the City’s

         pending motion. Moreover, his views are speculative and impermissibly would

         allow him to offer opinion testimony as a non-expert witness.

         (In response to the City’s objection, the Sheriff notes that Alex Calenda is an

         Assistant District Attorney and member of the Multi-Agency Gang Unit.)

     2) Michael Laughlin

         Michael Laughlin works at OPSO as Chief of Investigations. His anticipated

         testimony includes factors affecting jail population, his belief about the difficulties

         in handling inmates with medical and mental needs and his supposition that there

         was an agreement to construct another jail facility to be described as Phase III.

         Aside from his inability to offer subjective opinion testimony, the City objects to

         his belief about what the OPSO describes as difficulties in handling inmates with

         medical and mental needs because those issues are not relevant to the October 5,

         2020 hearing.

  C. United States’ and Plaintiffs’ Witnesses

     1) Catherine M. Knox

         Catherine Knox is listed as an individual expected to testify about compliance with

         medical and mental health care provisions affecting OJC, Hunt and TDC; and she

         is also expected to testify about purported current impediments to care and security

         of inmates. The City objects to her anticipated testimony because it appears that it

         will consist of her opinions in the form of expert testimony. She has not been listed




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               as an expert witness, nor have Rule 26 disclosures been disclosed as counsel for the

               United States and Plaintiffs both stated were required.

               (In response to the City’s objection, the United States and Plaintiffs argue that Ms.

               Knox has worked as a member of the Court’s monitoring team in assessing

               compliance with the Consent Judgment and that since Ms. Knox is part of the

               court’s expert federal monitoring team, no Rule 26 disclosure is required.)

           2) Chief Byron LeCounte

               Byron LeCounte is supposed to testify about impediments to mental health care.

               Again, he, like Ms. Knox, is not qualified to offer his opinions, nor has he been

               identified as an expert witness who will try to do so.

               (In response to the City’s objection, the United States and Plaintiffs assert that Chief

               LeCounte is able to testify to his personal knowledge as Chief of Security for the

               jail and can testify as to his security experience regarding impediments to mental

               health care within the confines of the Federal Rules of Evidence.)

              COMPLIANCE DIRECTOR’S AND SHERIFF’S OBJECTIONS

       The Compliance Director and the Sheriff respectfully submit their objections to certain

witnesses listed by the City as follows:

       A. City’s Witnesses

           1) James Austin

               The objection to James Austin is that the City has designated him as an expert

               witness in areas he is not qualified to give expert testimony.

           2) Tenisha Stevens

               The objection to Tenisha Stevens is based on relevancy and materiality.




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                                 Respectfully submitted,

FOR THE CITY OF NEW ORLEANS:

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                               CERTIFICATE OF SERVICE


       I do hereby certify that on this 9th day of September, 2020, a copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent by operation of the court’s electronic filing system. I also certify that a copy of the

foregoing will be sent to all non-CM/ECF participants by United States Mail, properly addressed

and postage pre-paid.

                                               __________/s/ Sunni J. LeBeouf__________
                                                         SUNNI J. LEBEOUF




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